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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

      Plaintiff,

v.

JAMES E. ROLLINS, JR.,

      Defendant.                                    Case No. 05-CR-30133-5-DRH

                                      ORDER

HERNDON, Chief Judge:

             On October 22, 2007, the Court entered an Order (Doc. 615) granting

defendant James Rollins, Jr.’s Motion for Extension of Time to File Notice of Appeal

(Doc. 614), allowing Defendant until November 8, 2007 to file Notice. Shortly after

the Court issued its Order, the Government filed its Response to Defendant’s Motion

(Doc. 616), accompanying opposing memorandum (Doc. 617) and a Motion for

Reconsideration (Doc. 618). The Government asks the Court to reconsider its Order

granting Defendant an extension of time and to consider the Government’s opposing

Response.    The Court will now consider the legal arguments raised by the

Government’s Response in determining its Motion to Reconsider.

             To recount, in a criminal case such as this, a defendant appealing his

sentence must file his notice of appeal in the district court within 10 days after the

entry of judgment. FEDERAL RULE OF APPELLATE PROCEDURE 4(b)(1)(A). Rule

4(b)(4), which allows for extensions to that 10-day window under certain

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circumstances, states that “[u]pon a finding of excusable neglect or good cause, the

district court may--before or after the time has expired, with or without motion and

notice--extend the time to file a notice of appeal for a period not to exceed 30 days

from the expiration of the time otherwise prescribed by this Rule 4(b).” In this case,

Defendant’s 10-day window to file his Notice of Appeal ended on October 9, 2007.

Defendant’s Motion for Extension of Time (Doc. 614) explained that although

Defendant advised his counsel during sentencing that he did not want to appeal the

judgment, counsel received a letter from Defendant from prison, dated September

29, 2007, stating that he did, in fact, wish to appeal. The Motion also stated that

counsel’s office did not receive Defendant’s letter until the week of October 15, 2007.

Counsel asserted that this demonstrates good cause and excusable neglect:

Defendant expressed his desire to appeal prior to the October 8, 2007 filing deadline.

Yet, through no fault of his own, Defendant’s letter did not reach counsel until

approximately one week after the filing deadline. The Court found that the standard

under Rule 4(b)(4) was met and extended Defendant’s filing deadline to November

8, 2007. The Government opposes a finding of good cause or excusable neglect and

asks that the Court reconsider its Order.

             To determine whether “excusable neglect” exists for granting the

extension, the Seventh Circuit applies the same four-part test as the Supreme Court

did in Pioneer Inv. Servs. Co. v. Brunswick Assocs. L.P., 507 U.S. 380, 395

(1993), by which a Court examines: “(1) the danger of prejudice to the non-moving



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party; (2) the length of the delay and its potential impact on judicial proceedings; (3)

the reason for the delay, including whether it was within the reasonable control of

the movant; and (4) whether the movant's conduct was in good faith. United States

v. Elliott, 149 Fed. Apx. 489, 492-93 (7th Cir. 2005)(citing Pioneer; United

States v. Brown, 133 F.3d 993, 996 (7th Cir. 1998)). “Good cause” appears to

be a standard more applicable to when the delay is not attributable to the movant.

Id. (citing United States v. Hirsch, 207 F.3d 928, 929 (7th Cir. 2000)(for the

proposition “ that the clerk's failure to perform a ‘ministerial act whose omission

could have serious consequences for a criminal defendant’ would be good cause

for filing a late appeal”); Bishop v. Corsentino, 371 F.3d 1203, 1207 (10th

Cir.2004) (finding that the standard of “‘good cause’ applies in situations where

the need for the extension is occasioned by something out of the movant's

control”)).

              Focusing on the “excusable neglect” factors, the Government has not

given adequate reason why it is prejudiced by this appeal, other than the fact that

had a greater interest in finality of the matter as the 10-day time for filing a Notice

of Appeal had passed without the Government having knowledge of Defendant’s

intent to appeal (Doc. 617, p. 4). However, Defendant’s Motion (Doc. 614) was filed

only eight days after the expiration of the 10-day window, a relatively short length of

time. The only impact upon these proceedings is that the Government has had to

oppose Defendant’s request for extension and now faces the possibility of litigating


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his appeal. The reason for the delay, it appears, is that Defendant’s letter did not

reach counsel’s office in a timely fashion. It is unknown whether Defendant actually

mailed his letter to counsel when he said he did, whether he included proper postage

on the envelope or whether the letter was simply unnoticed by counsel until after the

10-day window had expired. See, e.g., United States v. Alvarez-Martinez, 286

F.3d 470, 473 (7th Cir. 2002)(finding district court did not abuse its discretion

in granting Rule 4(b)(4) extension where the facts showed the that counsel’s

office may have had a “serious potential problem of communication with the

client,” and therefore extension “allowed counsel to mend a potentially

disastrous lapse in representation.”).      In other words, it is impossible to tell

whether the delay was because of, or outside of, Defendant’s reasonable control.

             This segues into the last factor, which considers whether the movant

acted in good faith. Although, as the Government points out, Defendant has failed

to attach any exhibits to his Motion, such as a copy of the envelope showing the

postmark date, in the interests of preserving Defendant’s right to appeal and with no

evidence to the contrary, the Court finds Defendant acted in good faith. The fact that

Defendant’s letter was dated September 29, 2007, aids the Court in its belief that the

Defendant’s intent to communicate his change of heart to appeal existed fairly early

on after his sentencing – five days after his judgment was entered by the Court (Doc.

598). This time span better evidences the result of several days of contemplation

rather than Defendant’s fickleness.



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             Pioneer held that the “excusable neglect” test is based upon equitable

principles, “taking account of ‘all relevant circumstances surrounding the party’s

omission.’” United States v. Brown, 133 F.3d 993, 996 (7th Cir. 1998)(citing

Pioneer, 507 U.S. at 395). The Seventh Circuit also found such an equitable

balancing test may find reason to excuse the filing delay, “even where the reasons for

the delay are not particularly compelling.” Id. at 997. Therefore, given that the

length of delay was relatively short and had little impact on these judicial

proceedings, that Defendant appears to have attempted to communicate his intent

to file a notice of appeal within the 10-day window in good faith, and because it does

not appear the extension will cause undue prejudice to the Government, the Motion

to Reconsider (Doc. 618) is hereby DENIED.

             IT IS SO ORDERED.

             Signed this 7th day of November, 2007.



                                              /s/    DavidRHerndon
                                              Chief Judge
                                              United States District Court




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